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                                IN THE UNITED STATES DISTRICT COURT
                                FOR THE NORTHERN DISTRICT OF GEORGIA
                                          ATLANTA DIVISION


             UNITED STATES OF AMERICA,
                                                        CRIMINAL CASE NO.
             v.
                                                        1:11-cr-136-JEC-AJB
             JOSHUA MCCULLOUGH, et al.,


                  Defendants.

                                                ORDER

                   This case is before the Court on the Magistrate Judge’s Report

             and Recommendations [310, 333, 489, 493, 495, 509, 618] recommending

             denying defendants Joshua McCullough and James McKenzie’s Motions to

             Dismiss the Indictment [270, 306], denying McKenzie’s Motions to

             Suppress Evidence [112, 294, 307, 308, 315, 316], denying the

             Whortons’ Motions to Suppress Evidence [125, 163], denying the

             Autrys’ Motions to Suppress Evidence [143, 200, 226, 227, 230, 247,

             249], denying McCullough’s Motions to Suppress Evidence [153, 154,

             155], denying defendant Holly Autry’s Motion to Suppress Statements

             [199], denying defendant Sandra Whorton’s Motion to Suppress Evidence

             Seized During the Searches of 1396 Commerce Drive, Suites A and B

             [183], denying defendant Holly Autry’s Motions to Suppress Statements

             [142, 199], denying defendant Joshua McCullough’s Motion to Suppress

             Evidence [156], and denying Bunch’s Motions to Suppress the search of

             436 Hood Road, as adopted by Ira Butler [146, 196], Bunch’s Motion to


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             Suppress the search of 1850 Flat Rock Road [147], Bunch’s Motion to

             Suppress Statements [148], Bunch’s Supplemental Motion to Suppress

             Evidence and Statements [205], Butler’s Motion to Suppress Evidence

             [130], Butler’s Motion to Suppress Evidence from the December 8, 2010

             search of 436 Hood Road [213], denying James McKenzie’s Motion to

             Suppress Identification Testimony [288], granting Holly Autry’s

             Motions to Supplement the Record, [361, 382], and denying the Motion

             to Reconsider the magistrate judge’s previous R&R [361, 382].

                  On August 19, 2011, defendant McCullough filed Objections [318],

             and on August 22, 2011 defendant McKenzie filed Objections [325] to

             the Report and Recommendation [310].            On September 12, 2011, Sandra

             Whorton filed Objections [347] to the Report and Recommendation

             [333]. On September 14, 2011, Jimmy Ray Whorton filed Objections

             [348] to the Report and Recommendation [333]. On September 29, 2011,

             Joshua   McCullough    filed     Objections      [358]   to   the   Report   and

             Recommendation [333].       On September 30, 2011, Karry Autry filed

             Objections   [359]    to   the   Report   and    Recommendation     [333].   On

             September 30, 2011, Holly Autry filed Objections [360] to the Report

             and Recommendation [333].         On September 30, 2011, James McKenzie

             filed Objections [362] to the       Report and Recommendation [333].         On

             September 30, 2011, Paul Bunch filed Objections [363, 364] to the

             Report and Recommendation [333].           On September 28, 2012, Sandra

             Whorton filed Objections [491] to the report and recommendation

             [489]. On October 23, 2012, Joshua McCullough filed Objections [498]

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             to the Report and Recommendation [493].             On February 19, 2013,

             defendant   Bunch    filed   Objections     [532]    to   the   Report   and

             Recommendation [509].     On October 16, 2013, defendant Butler filed

             Objections [602] to the Report and Recommendation [509]. On February

             11, 2014, defendants James McKenzie and Holly Autry filed Objections

             to the Report and Recommendation [618].1       Finally, on April 2, 2014,

             defendant Bunch filed a motion to adopt a co-defendant’s objections

             [666], which this Court now GRANTS.

                  The Court has reviewed the Report and Recommendations [310, 333,

             489, 495, 509] and finds the magistrate judge’s conclusions to be

             well-founded.    As to one matter–-the request by certain defendants

             for a Franks hearing as to the search warrant for 166 Alexander

             Drive–-in order to ensure that the record is complete, the Court will

             request that the magistrate judge conduct a hearing on that matter.

             Otherwise, all other objections are overruled and the R&Rs are

             adopted, as written.

                  IT IS HEREBY ORDERED that the Court ADOPTS the Magistrate

             Judge’s Report and Recommendations [310] DENYING the motions of

             defendants McCullough and McKenzie to Dismiss the Indictment [270,

             306].2 The Court ADOPTS his Report and Recommendation [333] as to its


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                    Defendant James McKenzie also filed a Supplement to Objections
             to the Report and Recommendation [618] and Motion to Adopt [654],
             which this Court grants.
                  2
                    Motions filed by defendant Sandra Whorton [124,125, and 183]
             and defendant Jimmy Ray McWhorter’s motions [163], on which the
             magistrate judge made recommendations in R&Rs found at Document

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             recommendation of the denial of the motions for suppression presented

             therein, and the grounds for denial of those motions, except that the

             Court directs that a Franks hearing be held as to all defendants who

             requested such a hearing as to the warrant affidavit relating to 166

             Alexander Drive.    (See R&R [333] at 59-60).           The Court ADOPTS the

             magistrate judge’s Report and Recommendation [493] recommending the

             denial of defendant Joshua McCullough’s motion to suppress evidence

             as to the search of 2220 Jodeco Road [155].             The Court ADOPTS the

             magistrate judge’s Report and Recommendation [495] recommending the

             denial of defendant Holly Autry’s motion to suppress statements [142,

             199].     The   Court   ADOPTS   the       magistrate   judge’s   Report   and

             Recommendation recommending denial of motions to suppress filed by

             defendants Bunch and Butler [146, 196, 147, 148, 205, 130, 213]. The

             Court ADOPTS the magistrate judge’s Report and Recommendation [618]

             recommending the denial of defendant McKenzie’s motion to suppress

             identification testimony [288], the granting of defendant Holly

             Autry’s motion to supplement the record [361,382], the denial of the

             motions to reconsider the prior R&R [361, 382], except as to that

             part of the R&R rejecting defendants’ request for Franks hearing as

             to the warrant affidavit relating to 166 Alexander Drive.

                  In short, the Court concurs as to all recommended rulings by the

             magistrate judge in his thorough and well-reasoned R&Rs, except that,


             333,489, are no longer pending, as the indictment against Mrs.
             McWhorter was later dismissed and Mr. McWhorter has pled guilty and
             been sentenced.

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             to complete the record, the Court directs that a Franks hearing be

             held as to all defendants who requested such a hearing as to the

             warrant affidavit relating to 166 Alexander Drive.

                  It is further Ordered that defendant Karry Autry’s Motion to

             Adopt the Co-Defendant, Holly Autry’s, Objections to the Report and

             Recommendation [662]and defendant Paul Bunch’s Motion to Adopt Co-

             Defendant’s Objections to the Magistrate Judge’s Non-Final Report and

             Recommendation [666] are GRANTED.

                  To render easier the Clerk’s ability to properly record what

             motions are left to be determined after a Franks hearing, any

             defendant having requested such a hearing as to the warrant affidavit

             relating to 166 Alexander Drive should perfect that request by

             refiling this part of their previous motions as a separate document

             setting out this request.     Defendants shall do by SEPTEMBER 5, 2014.

             In all other regards, however, the magistrate judge’s denial of

             motions to suppress or rulings on other motions is ADOPTED.

                  SO ORDERED this 13th day of AUGUST, 2014


                                               /s/ Julie E. Carnes
                                               JULIE E. CARNES
                                               Circuit Judge, sitting by designation
                                               as District Judge




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